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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


DARON TYRESE CALDWELL,


       Plaintiff,

v.                                                             Case No. 95-80919
                                                               Hon. Lawrence P. Zatkoff


UNITED STATES OF AMERICA,


       Defendant.


                                      /


                      OPINION AND ORDER ADOPTING
             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


       This matter comes before the Court on Magistrate Judge Grand’s Report and

Recommendation [dkt 146], in which the Magistrate Judge recommends that Petitioner’s motion to

vacate, set aside, or correct sentence [dkt 140] be DENIED and that a certificate of appealability also

be DENIED. Neither party has filed an objection to the Report and Recommendation, and the time

period in which to do so has elapsed.

       The Court has thoroughly reviewed the court file and the Report and Recommendation. As

a result of that review, the Court ADOPTS the Report and Recommendation [dkt 146] and enters

it as the findings and conclusions of this Court.

        Accordingly, IT IS HEREBY ORDERED that Plaintiff’s motion to vacate, set aside, or

correct sentence is [dkt 126] is DENIED.
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      IT IS FURTHER ORDERED that a certificate of appealability is also DENIED.

      IT IS SO ORDERED.

                                               S/LAWRENCE P. ZATKOFF
      Date: May 1, 2013                       HON. LAWRENCE P. ZATKOFF
                                              UNITED STATES DISTRICT JUDGE




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